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Attomey for Debtor


                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF MONTANA

IN RE:                                         )       Case   No. 18-60291-11
                                               )
WESTERN CPE, LLC                               )
                                               )
                         Debtor                )
                                               )

                             CHAPTER 11 PLAN (AUGUST 20,2018)


         WESTERN CPE, LLC, Debtor and Debtor-in-Possession, hereby propose the following

Plan of Reorganization pursuant to Chapter 1 1 of Title I 1, United States Code (hereinafter the

"Bankruptcy Code" or the "Code").

                                         INTRODUCTION

         The Debtor   will continue the operation of its professional seminar production   enterprise

and   will restructure its debts. All payments to be made under this plan will come from    the

revenues received by the Debtor.




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                                     ARTICLE I DEFINITIONS

         For the purposes of this plan of reorganization, the following terms     will   have the respective

meanings hereinafter set forth:

         1.01.    Allowed   Claim.    Shall mean a claim (a) in respect of which a proof of claim

has been filed with the Court within the applicable period of limitation fixed by Rule 3003 or by

an order of the Court, or by the terms of this Plan    in either   case as to which no objection to the


allowance thereof has been interposed within applicable period of limitation fixed pursuant to

Rule 3003, by an order of the Court, or by the terms of this Plan or as to which any such

objection has been determined by an order or judgment which is no longer subject to appeal or

certiorari proceeding and as to which no appeal or certiorari proceeding is pending or (b) which

is set out and not claimed as unliquidated, contingent or disputed in Schedules D, E, or F of the

Debtors' bankruptcy petition and to which no proof of claim has been filed. The Allowed Claims

shall not include unmatured or post-petition-interest unless otherwise specifically stated in the

Plan.

         1.02.   Allowed Secured-Claim. Shall mean an Allowed Claim secured by a lien, security

interest or other charge against or interest in property in which the Debtors have an interest, or

which is subject to set off under $553 of the Bankruptcy Code, to the extent of the value

(detennined in accordance with $506 (a) of the Bankruptcy Code), or the interest of the holder of

such    Allowed Claim in the Debtor 's interest in such property or the extent of the amount subject

to set off as the case rnay be.




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           1.03      Commercial Building. Shall mean that building from which the Debtor's

operations are conducted located        at 243 Pegasus Drive, Bozeman, Montana. The              legal

description of the Commercial Building is: Lot 57 of the Final Plat of Galactic Park Subdivision,

Gallatin County Montana, according to the Official Plat thereof on file and of record in the office

of the County Clerk and Recorder, Gallatin County, Montana.

           1.04.   Con-firmation Date. Shall mean the date upon which an Confirmation Order is

entered by the Court.

           1.05.   Con       on Order    Shall mean the order confirming this Chapter 11 plan.

           1.06. Court.   Shall mean the United States Bankruptcy Court for the District   of

Montana in which the Debtors' Chapter 11 case, pursuant to which this Plan is proposed, is

pending or any Court having competent jurisdiction hear to appeals on certiorari proceedings

thereon.

           1.07. Debtor.   Shall mean, WESTERN CPE, LLC, Debtor, Debtor-in-Possession and

Reorganized Debtor.

           1.08. Deficienc:t Claim.   Shall mean the difference, if any, between Allowed Claim artd

an Allowed Secured Claim.

           1.09. Efective Date.   Shall mean a date 60 days after the date of the entry of the Order

of Confirmation.

           1.10.   Excu       Parties. Shall mean the Debtors and all professionals whose

employment by the Debtors has been approved by the Court




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         I   .l   1   .   Federal Judgment Rate. Shall mean the judgment rate of interest described in 28

U.S.C. $1961 as of the Effective Date, As of the date of this Plan, the Federal Judgment Rate is

2A5%.

         1.12.            Order oLCon-firmation Shall mean the order entered by the Court confirming the

Plan rn accordance with the provisions of Chapter I               I   of the Code which order is no longer

subject to appeal or certiorari proceeding and as to which no appeal or certiorari proceeding is

pending.

         |.13. Pending Litigation. Shall mean that one disputes pending before a local, state or

federal court on the commencement of the above                  - named Chapter    11 bankruptcy case in which


the debtors are plaintiffs as identified and the Debtor's statement of Financial Affairs, Part               4,19

filed in this case.

         1.14. Personal Propert.v.             Shall mean all personal property, tangible and intangible,

including but not limited to cash, receivables, equipment, machinery, tools, fumiture, livestock,

and feed.

         1.1      5.      Plan.   Shall mean the Chapter I 1 Plan of reorgani zation as amended or modified

in accordance with the Code.

         1.16.            (Jnused   Deposit.     Shall mean a deposit paid to the Debtor for (i) a seminar

scheduled to be provided prior to April 6,2018, or (ii) other purchase not completed prior to

April   6, 2018.




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        1.11.   Undelined Terms.        Any term not specifically defined herein shall be ascribed

the meaning of such term as provided by the Bankruptcy Code or where the Bankruptcy Code

does not provide a particular definition, by the common usage of such term.

               ARTICLE     II   MEANS FOR                      TION OF THE PT,AN

        2.01.   Generalbt. The Debtor shall receive income from the sponsorship and

production of professional tax oriented education seminars and webcasts. The Debtor shall

pay the proceeds to the Allowed Claims in the order of priority. The Debtor anticipates

generating sufficient proceeds from these sources to meet all Plan payments, costs and

expenses.

        2,02. Pavment. All creditors will    be paid from these sources.   All creditors will   be

paid, in the order of priority, under the Plan.

                    ARTICLE III.            CI-AIMS FOR
              ADMINISTRATIVE EXPENSES AND PRIORITY CREDITORS
                 ,4ND THE PROVISION    PAYMENTS OF EACH

       3.01. Administrative      Expenses. Any reasonable administrative expense of the

Debtors' Chapter 11 case allowed pursuant to $503(b) of the Code and given priority by virtue

of $507(a) of the Bankruptcy Code shall be paid on or before the Effective Date unless the

administrative claimant has agreed to different payment arangements; administrative

expenses may include fees and costs of attorneys, accountants, economic and business

consultants, realtors, appraisers, post-petition income taxes, the fees due to the U.S. Trustee,

and any administrative expense allowed by application     of l1 U.S.C. $503. No such




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administrative expense shall be paid until the amount thereof has been approved by an order of

the Court, except U.S. Trustee's fees, and post-petition income taxes.

        3.02.   Classi-fication. The administrative fees are unclassified and are not allowed to

accept or reject this Plan.

        3.03. Prioritv      Tax Claims. Allowed claims arising under 11 U.S.C. $ 507(a)(8) shall

be paid commencing on the Effective Date, through 48 monthly payments computed through a

level amortization of the allowed $ 507(aX8) claims with interest at the statutory rates.

              ARTICLE IV CLASSIFICATION OF CLAIMS OR INTERESTS

       4.01.    Class   L     The Class I creditor is the creditor holding a first position lien on the

Commercial Building. The member of this class is the Gallatin County Treasurer.

       4.02.    Class   II. The   Class   II creditor is the creditor holding a first position   mortgage

lien on the Commercial Building.The member of this class is Rocky Mountain Bank.

       4.03.    Class   IIL    The Class    III creditors are those   creditors holding allowed priority

claims other than claims described in 11 U.S.C. $$ 507(a)(2),507(a)(3), and 507(a)(8).

       4.04.    Class   IV.   The Class IV creditors are the creditors holding allowed general

unsecured claims less than $5000.

       4.05.    Class V. The Class V creditors are creditors holding allowed general unsecured

claims of $5000 or more.

       4.06.    Class VI. The Class        VI creditors are creditors holding allowed    general

unsecured claims and who are indebted to the Debtor for pre-petition debts.




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        4.01.   Class VII. The Class        VII creditors are those creditors holding a general

unsecured claims based on an Unused Deposit

                ARTICLE         V-   IMPA               OF CLASSES

        5.01.   Class   I.    The Class I creditor   will   be impaired.

        5.02.   Class   II.    The Class II creditor will be impaired.

        5.03.   Class   III.   The Class    III creditors, if any, will   be impaired.

        5.04.   Class   IV.     The Class IV creditors       will   be impaired.

        5.05.   Class   V. The Class V creditors will be impaired.
        5.06.   Class VL The Class VI creditors             will not be impaired.

       5.01.    Class VII.The Class        VII creditors will be impaired.

                ARTICLE VI -PROVISIONS FOR PAYMENT OF CLAIMS

       6.01.    Administrative. The allowed administrative claim will be paid upon approval by

the Court and before the Effective Date, unless otherwise agreed by the administrative claimant.

       6.02.    Class   I.    The Class I Allowed Secured Claim will be paid, commencing on the

Effective Date, through 48 monthlypayments computed through a level amortization of the

allowed Class I claim with interest at ljYo.

       6.03.    Class   II.    The Class   ll Allowed   Secured Claim will be paid, commencing on

the Effective Date, through 120 monthly payments computed through a level amortization            of

the allowed Class II claim with interest at 6Yo.




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         6,04.   Class   III.   The Class   III Priority Claims will   be paid, commencing on the

Effective Date, through 48 monthly payments computed through a level amortization of the

allowed Class III claim with interest at the statutory rates'

         6.05.   Class   IV. The Class IY Allowed General         Unsecured Claims will be paid,

commencing on the Effective Date, through 12 monthly payments computed through a level

amortization of the allowed Class IV claim with interest at the Federal Judgment Rate.

         6.06.   Class   V. The Class Y Allowed General Unsecured             Claims will be paid,

commencing on the Effective Date, through 48 monthly paynents computed through a level

amortization of the allowed Class III claim with interest at the Federal Judgment Rate.

         6.07.   Class VI. The holders of the Class YI Allowed General Unsecured Claims              will

be paid by an offset, on the Effective Date, of the Allowed General Unsecured Claim in the

amount of the indebtedness of the Debtor owed to the Class VI claimants. Any portion of the

Class   VI Allowed General (Jnsecured Claim not paid through such offset shall be allowed            as a


Class   tV orY Allowed General        Unsecured Claim.

         6.08.   Class VIL The holders of Class        VII Allowed General Unsecured Claim will       be

paid through the Debtor's continued recognition of the Unused Credit which will be honored

if used at any time before the one-year anniversary of the Effective Date. A list of the Class

VII members is attached hereto       and incorporated herein.

         6.09.   Class V Election. The holder of a Class Y Allowed General Unsecured Claim

may elect treatment in a ballot accepting this Plan as a Class lY Allowed General Unsecured

Claim with an Allowed Claim fixed in the amount of $4999.99 and paid pursuant to fl 6.05.



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        6.10. Retention      o.f Liens.   The holders of the Classes I and II Allowed Secured

Claims shall retain their liens, if any, until their claim secured by said lien is paid in

accordance with this Plan.

        ARTICLE VII - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                                     EXECATORY CONTRACTS.

        7   .01.   The Debtors hereby assume the executory contracts and unexpired leases existing

as of the commencement of this case except the         following which are rejected: Any Class VII

claim that may constitute an executory contract.

                      TICLE VIII -                        AS PRO

        8.01. Upon confirmation,          the Debtor shall be revested   with all   assets and shall retain all


property during the term of the Plan as provided herein. The Debtor reseryes any contingent or

unliquidated claim they may hold against any claimant or third party whether identified on

Schedule B, arising pre-petition, arising during the pendency of this case or before the Effective

Date; nothing in this Plan shall be construed to constitute a release or waiver of any claim held

by the Debtor, whether by application of the doctrine of waiver, accord and satisfaction, or

otherwise.

        8.02.      The Court shall retain jurisdiction of the Debtor subsequent to the Effective Date

for the following purposes only:

       (a)         Allowing claims and hearing objections thereto;
       (b)         Reserving any adversary proceedings pending;
       (c)         Allowing and approving the payment of administrative expenses; and
       (d)         Any other matter reasonably necessary for the Debtors' irnplementation and
                   consummation of this Plan.




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        8.03. All claimants identified in the Debtor    's Schedules D, E, or F, as "disputed,"

"unliquidated," or "contingent" must file a proof of claim not later than the bar date or their

claim shall be disallowed; claims not indicated to be "disputed," "unliquidated," or "contingent,"

will be treated as scheduled unless a timely proof of claim   has been filed in which case the claim

will be determined by the proof of claim.         The Debtor may file a protective proof of claim

pursuant to Bankruptcy Rule 3004 for any creditors, including those not indicated on Schedules

D, E, or F   as "disputed,"   "unliquidated," or contingent." The Debtor must file any objections to

proofs of claim or to scheduled claims no later than I20 days after date of the Effective Date.

The Debtor may file an objection to a proof of claim filed by the Debtor pursuant to Bankruptcy

Rule 3004.

        8.04. If   an objection is made to a proof of claim or a portion thereof, any distribution

otherwise payable under this Plan shall be stayed until a final order is entered with respect to the

objection.

       8.05.    Stipulations with creditors may be filed which will modify the terms of Ihis Plan

without further disclosure, provided the stipulations so specify and the modification complies

with Rule 3019, F. R. Bankr. P.

       8.06.    The Debtor specifically reserves any and all claims or causes of action they may

hold; however, any claim or cause of action asserted against any claimant herein may also be

asserted as an offset to any proof of claim to which an objection is asserted by the Debtor.

       8.07.    On and after the Effective Date, the Debtor and professionals whose employment

has been approved by the Court shall be exculpated from any and all claims, except claims



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arising from willful rnisconduct or gross negligence, arising between the date of commencement

of this case and Ihe Effective Date. The Debtor and professional shall neither have, nor incur any

liability to any Entity for any post-petition, pre-final decree act taken or omitted to be taken in

connection with the Chapter 11 Case, or related to formulating, negotiation, soliciting, preparing,

disseminating, confirming, or implementing the Plan or consummating the Plan, the Disclosure

Statement,   or any contract, instrument, release, or other agreement or document created or

entered into   in connection with the PIan or any other post-petition act taken or omitted to be

taken   in connection with or in contemplation of the restructuring or liquidation of    the Debtor;

provided that the foregoing "Exculpation" shall have no effect on the liability of any Entity that

results from any such act or omission that is determined in a Final Order to have constituted

fraud or willful misconduct; provided, further, that each party subject to the exculpation provided

hereby, shall be entitled to rely upon the advice of counsel concerning his, her, or its duties

pursuant to, or   in connection with,      the Plan   or any other related document, instrument, or

agreement.

                      IX-SA                        INDEBTEDNESS AND

         9.01.   On and after the Effective Date, all holders of any claim or cause of action or any

rights of any kind whatsoever against the Debtor or Debtor in Possession shall be enjoined from

collecting any claims or pursuing any cause of action against the Reorganized Debtor, with

respect to any claim or cause of action or exercising any right, except as expressly allowed in this

Plan assertible against   the   Debtor, the Debtor in Possession or the Reorganized Debtor. Such

injunction shall be effective as to each claim, regardless of whether or not (a) the claim was



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scheduled, (b) a proof of claim was filed, (c) the claim is an Allowed Claim, or (d) the holder

thereof voted to accept the Plan.

       DATED this 20th day of August, 2018.

                                                     WESTERN CPE, LLC



                                                     By: /s/Vernon B. H
                                                             President, Western CPE, LLC




                                                     PATTEN, PETERMAN, BEKKEDAHL
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